Charles Lorentz Shooting Video Reconstruction




                                        EXHIBIT 2


                  LORENTZ003117
 Undistorted.




LORENTZ003119
          Camera Matched Position
Camera matched position with 3D laserscan data.




                LORENTZ003120
Ranger Mitchell tells Gage: “Go ahead and step over here, please.”




                      LORENTZ003123
Ranger Mitchell: “Spread your feet for me.”




             LORENTZ003124
LORENTZ003128
                    26 seconds of video
                     unaccounted for.


        Facts that happened during during the 26 seconds:

       Ranger Mitchell approaches to drive stun Mr. Lorentz.

          Ranger Mitchell pulls the Taser trigger 9 times.

Ranger Mitchell strikes Mr. Lorentz multiple times with his Taser
        Ranger Mitchell pulls out his gun during this time.




                        LORENTZ003130
In Ranger Mitchell’s interview on page 9, he reports
   that he “went in for a drive stun” after the Taser
             appeared to be ineffective.




                  LORENTZ003132
Face wounds and bruises comparison (on day of the incident)




                      LORENTZ003133
Face wounds and bruises comparison




          LORENTZ003134
                          Gage




                Ranger Mitchell
LORENTZ003137
Ranger Mitchell pushes Gage back.




           LORENTZ003140
Shadow indicates that Ranger
  Mitchell is on one knee.




    LORENTZ003141
1st shot fired into Gage’s right femur.




           LORENTZ003142
Gage’s right femur is shattered by the bullet.




               LORENTZ003144
Ranger Mitchell pushes Gage to the ground.




            LORENTZ003145
Gage is on the ground.




   LORENTZ003146
Ranger Mitchell has Gage held down and has control of the situation.




                          LORENTZ003147
Camera-matched position.




    LORENTZ003149
Ranger Mitchell fires 2nd round into Gage’s chest.




               LORENTZ003150
Ranger Mitchell backs up and off Gage.




         LORENTZ003152
Ranger Mitchell handcuffs Gage.




      LORENTZ003155
Ranger Mitchell rolls Gage over.




      LORENTZ003163
Ranger Mitchell stops to drink some coffee.




            LORENTZ003169
